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IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA
Alexandria Division
UNITED STATES OF AMERICA
v. Case No. 1:21-mj-392
ELIAS FETHAMLK,
Defendant.

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AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

I, Keith E. Palli, Special Agent with the Federal Bureau of Investigation (“FBI”),

Washington Field Office, being duly swom, depose and state the following:

1. This affidavit is submitted in support of a criminal complaint charging ELIAS
FETHAMLK (FETHAMLK) with interference with flight crew members and attendants in

violation of Title 49 United States Code, Section 46504.

2. This affidavit is for the limited purpose of obtaining a criminal complaint. It is not
intended to include each, and every fact and matter observed by me, or known to the

government. | have set fourth only those facts necessary to support probable cause.

3. I have been a Special Agent with the FBI since 2004. During my career, I have worked
a variety of investigative matters to include criminal and counterterrorism violations. | am
currently assigned to investigate matters related to civil aviation and airport security at Ronald
Reagan National Airport located in Arlington, Virginia and Dulles International Airport located
in Dulles, Virginia. As a Special Agent of the FBI, | am empowered by law to conduct

investigations, make arrests and execute and serve search and arrest warrants for offenses
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enumerated in Title 49 of the United States Criminal Code, including offenses in violation of

Title 49 United States Code, Section 46504.

4. Title 49, United States Code, Section 46504 prohibits any person on an aircraft in the
special aircraft jurisdiction of the United States who, by assaulting or intimidating a flight crew
member or flight attendant of the aircraft, interferes with the performance of the duties of the
member or the attendant or lessen the ability of the member or the attendant to perform those

duties, or attempts or conspires to do such an act.

5. On or about December 2, 2021, FETHAMLK was a passenger on board Ethiopian
Airlines flight 500, Dublin, Ireland to Dulles International Airport. As Ethiopian 500 started its
descent into Dulles International, FETHAMLK approached the flight cabin supervisor and asked
for white and red wine. The flight cabin supervisor, TAG, advised FETHAMLK that the aircraft
started its decent and asked FETHAMLK to return to his seat and prepare for landing.
FETHAMLK got mad, insulted the flight cabin supervisor, and attempted to take a picture of the
flight supervisor. The flight supervisor was in the process of activating the cabin video
containing passenger instructions for landing when she stopped and placed her hands over her
face to shield it from FETHAMLK’s photograph. FETHAMLK grabbed the flight cabin
supervisor’s wrists as her hands covered her face and pushed her up against the cabin entry door.
The Pilot in Command verbally warned FETHAMLK to return to his seat. FETHAMLK
complied and stated something to the effect that he didn’t “give a shit” and that the pilot should

call the police.

6. Once the plane landed at Dulles International Airport, FETHAMLK deboarded the plane
and was confronted by Metropolitan Washington Airport Authority (MWAA) police officers on

the jet bridge. FETHAMLK was detained by MWAA police at the gate. The MWAA police

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released FETHAMLK to United States Customs and Boarder Protection (CBP) officers for

processing. FETHAMLK was later arrested in the detention area of CBP.
7. Dulles International Airport is located in the Eastern District of Virginia.

8. Based on my experience and the aforementioned facts, | submit there is probable cause to
believe that ELIAS FETHAMLK interfered with the flight and cabin crew of Ethiopian flight

number 500 in violation of Title 49, United States Code, Section 46504.

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eith E. Palli
Special Agent
Federal Bureau of Investigation

Subscribed and sworn to before me this 3rd day of December, 2021.

Digitally signed by John F.
Joh n F . Anderson

Anderson Date: 2021.12.03 12:00:28

 

Honorable John F. Anderson
United States Magistrate Judge
